
Catron, Ch. J.
delivered the opinion of the court.
1. We think the force and effect of the decree sued on, fixed Hunt with the debt in Virginia, and does so here.
2. That the declaration is proper on the decree in form and substance.
3. That the suit in the debit and detinet was proper.
4. The verdict of the jury is surplusage and null.
5. But the charge of forty-five dollars and ninety-five cents for costs of the suit in Virginia, and for the copy of the transcript eleven dollars and thirty-three cents, cannot be recovered in this action of debt upon the plea of nul tiel record. The record furnishes no evidence of the fact of the charge of forty-five dollars and ninety-five cents other than the statement of the clerk at the foot of the transcript. To this no faith and credit can be accorded by the constitution and laws of the United States.
The charge for the transcript of course forms no part of the record. The judgment will therefore be reversed, and entered for seven hundred and eighty-four dollars and eleven cents, with interest on six hundred and fifteen dollars and ninety-two cents from the 24th of June, 1S28, until this time, and with interest on the balance from the date of the decree, 28th October, 1828.
Judgment reversed.
